Preview - 1:13CR00420-005                                                                                                                   Page 1 of 4

                          Case 1:13-cr-00420-LJO-SKO Document 87 Filed 06/09/15 Page 1 of 4
       AO 245B-CAED(Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case



                                   UNITED STATES DISTRICT COURT
                                                      Eastern District of California
                      UNITED STATES OF AMERICA                                JUDGMENT IN A CRIMINAL CASE
                                                                              (For Offenses Committed On or After November 1, 1987)
                                 v.
                          LORENA VALENCIA                                     Case Number: 1:13CR00420-005
                                                                              Defendant's Attorney: Annette T. Smurr

       THE DEFENDANT:
            pleaded guilty to count 6 of the FIRST Superseding Indictment.
            pleaded nolo contendere to count(s)      which was accepted by the court.
            was found guilty on count(s)     after a plea of not guilty.
       ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense (s):
                                                                                                                  Date Offense        Count
       Title & Section                       Nature Of Offense
                                                                                                                  Concluded           Number
                                             Possession of Methamphetamine with Intent to Distribute
       21 U.S.C. § 841 (a)(1)                                                                                     12/12/2013          6
                                             (CLASS A FELONY)

              The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed pursuant to the
       Sentencing Reform Act of 1984.

            The defendant has been found not guilty on count(s)      and is discharged as to such count(s).
            Count 1 is dismissed on the motion of the United States.
            Indictment is to be dismissed by District Court on motion of the United States.
            Appeal rights given.                              Appeal rights waived.

               IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
       change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
       fully paid. If ordered to pay restitution or fine, the defendant must notify the court and United States Attorney of material changes in
       economic circumstances.
                                                                             6/8/2015
                                                                             Date of Imposition of Judgment
                                                                             /s/ Lawrence J. O'Neill
                                                                             Signature of Judicial Officer
                                                                             Lawrence J. O'Neill, United States District Judge
                                                                             Name & Title of Judicial Officer
                                                                             6/9/2015
                                                                             Date




http://apps.caed.circ9.dcn/CIRUser/Desktop/Print.aspx?tab=tpCaseInfo                                                                              6/9/2015
Preview - 1:13CR00420-005                                                                                                                   Page 2 of 4

                         Case 1:13-cr-00420-LJO-SKO Document 87 Filed 06/09/15 Page 2 of 4
       AO 245B-CAED(Rev. 09/2011) Sheet 2 - Imprisonment
       DEFENDANT:LORENA VALENCIA                                                                                                       Page 2 of 4
       CASE NUMBER:1:13CR00420-005

                                                                 IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
       TIME SERVED.

             No TSR: Defendant shall cooperate in the collection of DNA.

             The court makes the following recommendations to the Bureau of Prisons:

             The defendant is remanded to the custody of the United States Marshal.

              The defendant shall surrender to the United States Marshal for this district
                     at     on     .
                     as notified by the United States Marshal.

              The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                      before       on    .
                      as notified by the United States Marshal.
                      as notified by the Probation or Pretrial Services Officer.
              If no such institution has been designated, to the United States Marshal for this district.

                                                                       RETURN
       I have executed this judgment as follows:




               Defendant delivered on                                                       to
       at                                                  , with a certified copy of this judgment.



                                                                              United States Marshal


                                                                              By Deputy United States Marshal




http://apps.caed.circ9.dcn/CIRUser/Desktop/Print.aspx?tab=tpCaseInfo                                                                           6/9/2015
Preview - 1:13CR00420-005                                                                                                                     Page 3 of 4

                          Case 1:13-cr-00420-LJO-SKO Document 87 Filed 06/09/15 Page 3 of 4
       AO 245B-CAED(Rev. 09/2011) Sheet 5 - Criminal Monetary Penalties
       DEFENDANT:LORENA VALENCIA                                                                                                         Page 3 of 4
       CASE NUMBER:1:13CR00420-005

                                                     CRIMINAL MONETARY PENALTIES

                The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                                    Assessment                       Fine                Restitution
                TOTALS                                               $100.00
             The determination of restitution is deferred until           . An Amended Judgment in a Criminal Case (AO 245C) will be entered
             after such determination.

             The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

             If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
             otherwise in the priority order or percentage payment colunm below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
             victims must be paid before the United States is paid.

       Name of Payee                                                Total Loss*       Restitution Ordered Priority or Percentage
       Totals                                                      $____                   $____
             Restitution amount ordered pursuant to plea agreement $

             The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
             the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
             subject to penalities for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

             The court determined that the defendant does not have the ability to pay interest and it is ordered that:

                    The interest requirement is waived for the              fine      restitution

                    The interest requirement for the             fine       restitution is modified as follows:


             If incarcerated, payment of the fine is due during imprisonment at the rate of not less than $25 per quarter and payment shall be
             through the Bureau of Prisons Inmate Financial Responsibility Program.

             If incarcerated, payment of the restitution is due during imprisonment at the rate of not less than $25 per quarter and payment
             shall be through the Bureau of Prisons Inmate Financial Responsibility Program.
       *Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
       on or after September 13, 1994, but before April 23, 1996.




http://apps.caed.circ9.dcn/CIRUser/Desktop/Print.aspx?tab=tpCaseInfo                                                                             6/9/2015
Preview - 1:13CR00420-005                                                                                                                        Page 4 of 4

                          Case 1:13-cr-00420-LJO-SKO Document 87 Filed 06/09/15 Page 4 of 4
       AO 245B-CAED(Rev. 09/2011) Sheet 6 - Schedule of Payments
       DEFENDANT:LORENA VALENCIA                                                                                                           Page 4 of 4
       CASE NUMBER:1:13CR00420-005

                                                            SCHEDULE OF PAYMENTS
               Payment of the total fine and other criminal monetary penalties shall be due as follows:

       A.               Lump sum payment of $         100.00 due immediately, balance due
                               Not later than      , or
                               in accordance           C,          D,   E,or        F below; or
       B.               Payment to begin immediately (may be combined with              C,         D,     or   F below); or

       C.               Payment in equal    (e.g. weekly, monthly, quarterly) installments of $       over a period of         (e.g. months or
                        years), to commence     (e.g. 30 or 60 days) after the date of this judgment; or

       D.               Payment in equal    (e.g. weekly, monthly, quarterly) installments of $     over a period of     (e.g. months or
                        years), to commence     (e.g. 30 or 60 days) after release from imprisonment to a term of supervision; or

       E.               Payment during the term of supervised release/probation will commence within      (e.g. 30 or 60 days) after release
                        from imprisonment. The court will set the payment plan based on an assessment of the defendants ability to pay at
                        that time; or

       F.               Special instructions regarding the payment of crimimal monetary penalties:

       Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
       due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
       Inmate Financial Responsibility Program, are made to the clerk of the court.

       The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

                Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate:

                The defendant shall pay the cost of prosecution.

                The defendant shall pay the following court cost(s):

                The defendant shall forfeit the defendant's interest in the following property to the United States:

       Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
       (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.




http://apps.caed.circ9.dcn/CIRUser/Desktop/Print.aspx?tab=tpCaseInfo                                                                                6/9/2015
